              Case 1:10-cr-00086-RWS-ECS Document 701 Filed 03/20/12 Page 1 of 12




                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

             UNITED STATES OF AMERICA            :        CRIMINAL ACTION
                                                 :
                      v.                         :        No. 1:10-CR-86-RWS-ECS
                                                 :
                                                 :
             OMAR CUBILLOS, AND                  :
             CARLOS MENDOZA                      :
                                                 :


                                     REPORT AND RECOMMENDATION

                                                 I.
                                            Introduction

                  This matter is before the Court on the motions to suppress

             evidence filed by Defendants Cubillos and Mendoza, [Docs. 347, 348],

             and motion to suppress statements filed by Cubillos. [Doc. 391].       The

             motions came on for evidentiary hearing on October 13, 2011.           The

             transcript has been filed1 [Doc. 615], the Defendants have briefed the

             motions, [Docs. 626, 645], and the Government has responded in

             opposition, [Doc. 669].     Defendants were permitted time to file reply

             briefs, but neither Defendant filed a reply to the Government’s

             response.

                  The motions to suppress evidence and statements all relate to a

             traffic stop that occurred on April 21, 2007, in the early morning

             hours in Gwinnett County.        Defendants contend that there was no



                  1
                     References to the transcript of the evidentiary hearing
             conducted on October 13, 2011, will be indicated as: [T. pg.]




AO 72A
(Rev.8/82)
             Case 1:10-cr-00086-RWS-ECS Document 701 Filed 03/20/12 Page 2 of 12




             probable cause or reasonable suspicion for the traffic stop because

             of a mistake of law by the arresting officer. Defendants alternatively

             contend that the impoundment and inventory of the vehicle that

             followed the stop and led to the seizure of two firearms and some

             ammunition was unreasonably conducted in violation of the Fourth

             Amendment.

                                                II.
                                             The Facts

                  In the early morning hours of April 21, 2007, Detective David

             Martinez of the Gwinnett County Police Department was on his regular

             patrol in a marked patrol car. [T. 21]. At around four o’clock in the

             morning, he observed a black Chevy Camaro driving southbound on

             Singleton Road near Thompson Parkway in Norcross, Gwinnett County. [T.

             8]. He pulled the vehicle over to the side of the road because there

             was no license tag light on the vehicle in violation of Georgia law.

             [T. 8, 22, 43-44, 70].    The vehicle had a Georgia license plate, but

             it also had a paper tag that said “Tag Applied For” in the back

             window. [T. 9, 24].    Officer Martinez called in the Georgia license

             tag and received a response that the showed the tag was issued to a

             green Ford Taurus. [T. 10, 23].

                  After receiving this information, Officer Martinez approached the

             vehicle on the passenger side. [T. 8, 10]. As he approached he

             determined that there were two people inside. [T. 10].                When he


                                                  2




AO 72A
(Rev.8/82)
             Case 1:10-cr-00086-RWS-ECS Document 701 Filed 03/20/12 Page 3 of 12




             arrived at the window on the passenger side he could smell a strong

             odor of alcohol. [T. 11, 31-32].         He informed the driver why he had

             stopped him and asked for his driver’s license. [T. 24]. The driver,

             who identified himself as Omar Cubillos, said he did not have his

             license with him. [T. 11, 24]. When asked who owned the car, he told

             the officer it belonged to a friend. [T. 11, 30].          A license check

             ultimately showed that Defendant Cubillos had been issued a valid

             driver’s license. [T. 24-25].

                    While this questioning was going on, the passenger, identified

             as Defendant Carlos Mendoza, was acting nervous, fiddling with a CD

             case and poking at the radio. [T. 12, 26]. Because of the alcohol

             smell, Officer Martinez decided to do a field sobriety test on the

             driver. [T. 13].   He waited for backup and Officers Parker and Lymber

             showed up within a few minutes. [T. 13, 80, 88].        The field sobriety

             test did not indicate that Defendant Cubillos was intoxicated. [T. 15,

             34].

                    When Officer Martinez ran the vehicle identification number

             (“VIN”) on the vehicle, it came back as a black Chevrolet Camaro with

             no insurance and a canceled registration. [T. 12-13]. This meant that

             there was no tag assigned to the vehicle. [T. 29].       During this time,

             Officer Parker, who was stationed near the passenger, reported that

             Mr. Mendoza continued to poke at or touch the car radio, which



                                                  3




AO 72A
(Rev.8/82)
             Case 1:10-cr-00086-RWS-ECS Document 701 Filed 03/20/12 Page 4 of 12




             appeared to be loose and improperly installed in the dashboard. [T.

             15, 56-57].

                  Because the vehicle lacked an active registration and was not

             insured, Officer Martinez made the decision to impound the vehicle.

             [T. 15, 32, 45].       Defendants were not under arrest at this time. [T.

             33]. In Officer Martinez’ opinion, an uninsured vehicle could not be

             legally driven on the roads of Georgia and must be impounded, unless

             he in his discretion allowed the vehicle to be towed away by its

             owner.   [T. 15, 50, 68, 76-77].

                  Once the vehicle was impounded, under Gwinnett County policy an

             inventory was required for the protection of both the police and the

             owner of the vehicle. [T. 82].         Officer Parker testified that the

             inventory of the Camaro was done in accordance with Gwinnett policy.2

             [T. 82-83]. In conducting the inventory, Officer Parker found two

             loaded pistols, a Smith & Wesson .32 caliber under the drivers seat

             and a H & R .22 caliber hidden behind the car radio/stereo that the

             officers had noticed Mr. Mendoza fiddling with. [T. 16, 58, 84]. When

             the weapons were found, both occupants of the vehicle were quickly

             “taken   down”   and    handcuffed.   [T.   16].   A   pat-down   of   Defendant

             Cubillos’s person led to the discovery of .32 caliber ammunition in

             his pocket. [T. 17].


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                     A copy of the policy was introduced into evidence as
             Government Exhibit 1.

                                                    4




AO 72A
(Rev.8/82)
             Case 1:10-cr-00086-RWS-ECS Document 701 Filed 03/20/12 Page 5 of 12




                  Defendant Cubillos at some point was determined to be a felon and

             was charged with being a felon in possession of a firearm. [T. 67].

             Defendant Mendoza was arrested for possession of a concealed weapon.

             [T. 68].    Neither of the Defendants made any statements that the

             Government intends to introduce into evidence. [T. 92].

                                                III.
                                             Discussion

             A. Did Officer Martinez have probable cause or reasonable suspicion
                to stop the Chevy Camaro on April 21, 2007?

                  The Fourth Amendment to the United States Constitution protects

             the right of persons to be free from unreasonable searches and

             seizures.   U.S. Const. amend. IV.       A seizure takes place “[w]henever

             a police officer accosts an individual and restrains his freedom to

             walk away.” United States v. Brignoni-Ponce, 422 U.S. 873, 878 (1975)

             (quoting Terry v. Ohio, 392 U.S. 1, 16 (1968)). Traffic stops qualify

             as seizures under the Fourth Amendment.       Delaware v. Prouse, 440 U.S.

             648, 653 (1979).

                  Law enforcement officers may briefly detain a person for an

             investigatory stop if they have a reasonable, articulable suspicion,

             based on objective facts, that the person has engaged, or is about to

             engage, in criminal activity.     Terry, 392 U.S. at 1, 20-21, 29.    The

             “reasonable suspicion” must be more than an “inchoate unparticularized

             suspicion or ‘hunch,’” id. at 27, and the officer must have “some

             minimal level of objective justification” taken from the totality of

                                                  5




AO 72A
(Rev.8/82)
             Case 1:10-cr-00086-RWS-ECS Document 701 Filed 03/20/12 Page 6 of 12




             the circumstances.      United States v. Sokolow, 490 U.S. 1, 7-8

             (1989)(quoting I.N.S. v. Delgado, 466 U.S. 210, 217 (1984)).          “In

             justifying such an intrusion, the ‘reasonableness’ standard requires

             that a police officer ‘be able to point to specific and articulable

             facts which, taken together with rational inferences from those facts,

             reasonably warrant that intrusion.’”       United States v. Pruitt, 174

             F.3d 1215, 1219 (11th Cir. 1999)(quoting Terry, 392 U.S. at 21).

                  The principles enunciated in Terry apply to traffic stops.

             United States v. Arvizu, 534 U.S. 266, 273 (2002); United States v.

             Cortez, 449 U.S. 411, 417 (1981); United States v. Purcell, 236 F.3d

             1274, 1277 (11th Cir. 2002).    Accordingly, the police may make a stop

             if they have reasonable suspicion or probable cause to believe that

             a traffic violation has occurred.     Illinois v. Wardlaw, 528 U.S. 119,

             123 (2000); Whren v. United States, 517 U.S. 806, 810 (1996); see

             United States v. Cooper, 133 F.3d 1394, 1398 (11th Cir. 1998)

             (involving a lane change violation). “Reasonable suspicion” is a less

             demanding standard than probable cause and requires considerably less

             than a preponderance of the evidence.      Sokolow, 490 U.S. at 7.

                  O.C.G.A. § 40-8-23(d) provides that “[e]ither a taillight or a

             separate light shall be so constructed and placed as to illuminate

             with a white light the rear registration plate and render it clearly

             legible from a distance of 50 feet to the rear.”            In this case,

             Officer Martinez stopped the black Chevy Camaro “because there was no

                                                  6




AO 72A
(Rev.8/82)
             Case 1:10-cr-00086-RWS-ECS Document 701 Filed 03/20/12 Page 7 of 12




             tag light on the vehicle,” explaining that “state law requires that

             the vehicle be equipped with a tag light and it has to be seen from

             fifty feet away.” [T. 8]. Based upon this record and testimony there

             is no question that Officer Martinez had probable cause upon which to

             stop the Camaro for this perceived violation of Georgia law.

                  Defendants seem to argue that Officer Martinez could not cite

             Defendant for a violation for O.C.G.A. § 40-8-23 because the vehicle

             also had a temporary paper tag in the window that Officer Martinez

             could see and read.    See Def’s Briefs, [Doc. 645, at 2], [Doc. 626,

             at 7].    From this proposition Defendant concludes that Officer

             Martinez was mistaken about the applicable law.       But Defendant cites

             no authority whatsoever for the proposition that a temporary paper tag

             displayed in a rear window excuses a violation of the tag light

             requirements of the Georgia Code.     Indeed, Defendants fail to address

             the fact that the license tag not only was insufficiently lighted, but

             the vehicle was actually bearing a license plate that did not

             correspond with the vehicle, and was registered to another vehicle

             entirely, also in violation of Georgia law. See O.C.G.A. § 40-2-

             5(a)(3) & (4).3


                  3
                    O.C.G.A. § 40-2-5(a) provides:
             (a) Except as otherwise provided in this chapter, it shall be
             unlawful:
             ....
                  (3) To buy, receive, use, or possess for use on a motor
                  vehicle any license plate not issued for use on such motor

                                                  7




AO 72A
(Rev.8/82)
             Case 1:10-cr-00086-RWS-ECS Document 701 Filed 03/20/12 Page 8 of 12




                  There was no mistake of law. Georgia law requires a white light

             that illuminates the rear registration plate so that it can be seen

             from a distance of 50 feet. Defendant’s vehicle failed to comply with

             this statute. Officer Martinez clearly was authorized by probable

             cause and reasonable suspicion to make the stop of the Camaro for this

             apparent violation of Georgia law. Defendants’ arguments based on the

             paper tag and mistake of law are without merit.

             B. Was it lawful under the Fourth Amendment to impound the vehicle and
             conduct an inventory search?

                  After lawfully taking custody of a vehicle, the police may

             conduct a warrantless search of the vehicle in the nature of an

             inventory in order to further three distinct purposes: (1) to protect

             the owner’s property while it is in police custody; (2) to protect the

             police against claims of lost, stolen or vandalized property; and

             (3) to protect the police from potential danger.         Florida v. Wells,

             495 U.S. 1, 4 (1990); Colorado v. Bertine, 479 U.S. 367, 372 (1987);

             Illinois v. Lafayette, 462 U.S. 640, 646 (1983).          Police may not,

             however, conduct an inventory search in bad faith or solely for

             investigatory purposes.    An inventory search must not be a ruse for

             general rummaging in order to discover incriminating evidence. Wells,



                  vehicle; or
                  (4) To operate a motor vehicle bearing a license plate which
                  was improperly removed or transferred from another vehicle.


                                                  8




AO 72A
(Rev.8/82)
             Case 1:10-cr-00086-RWS-ECS Document 701 Filed 03/20/12 Page 9 of 12




             495 U.S. at 4.    An inventory search must be conducted according to

             standardized criteria.    Id.; United States v. Khoury, 901 F.2d 948,

             958 (11th Cir. 1990).    Thus, “a law enforcement officer may impound

             [a] vehicle, so long as the decision to impound is made on the basis

             of standard criteria and on the basis of something other than

             suspicion of evidence of criminal activity.” Sammons v. Taylor, 967

             F.2d 1533, 1543 (11th Cir. 1992) (quotation omitted).            Contraband

             discovered in the course of a valid inventory search may be seized by

             the police.   Bertine, 479 U.S. at 376; Lafayette, 462 U.S. at 648;

             South Dakota v. Opperman, 428 U.S. 364, 376 (1976).

                  Defendants argue that the inventory search of the Camaro after

             impoundment was illegal because it was based upon the officer’s

             erroneous   assumption   that    impoundment   was   mandatory    in   these

             circumstances. See Def’s Brief, [Doc. 626, at 10].         Defendants also

             argue that the impoundment was illegal because Officer Martinez did

             not offer Defendant Cubillos any alternatives to impound, [Doc. 645,

             at 10].   These arguments are without merit.      The evidence shows that

             Officer Martinez acted consistently with Gwinnett County procedure in

             determining that impoundment was reasonable under the circumstances.

             See Gov’t Ex. 1, ¶ 427.03.      He determined that under Georgia law the

             vehicle could not be driven because it was not in compliance with

             Georgia law regarding mandatory liability insurance.

                  Indeed, O.C.G.A. § § 33-34-4 provides as follows:

                                                  9




AO 72A
(Rev.8/82)
             Case 1:10-cr-00086-RWS-ECS Document 701 Filed 03/20/12 Page 10 of 12




                       No owner of a motor vehicle required to be registered in
                  this state or any other person, other than a self-insurer as
                  defined in this chapter, shall operate or authorize any other
                  person to operate the motor vehicle unless the owner has motor
                  vehicle liability insurance equivalent to that required as
                  evidence of security for bodily injury and property damage
                  liability under Chapter 9 of Title 40, the ‘Motor Vehicle Safety
                  Responsibility Act.’

             See State v. Howard, 264 Ga. App. 691, 693 (2003) (Noting, in

             upholding impoundment, that “no one would argue that uninsured motor

             vehicles should be allowed to travel the roadways.”); see also

             O.C.G.A. § 40-6-206(d) (providing for removal of vehicle of persons

             charged with no proof of insurance where person admits no insurance

             or police verify that proof fraudulent).

                  O.C.C.A. § 33-34-4, quoted above, would appear to validate

             Officer Martinez’s judgment that he should not have allowed Defendant

             Cubillos, who did not have a license in his possession, or Defendant

             Mendoza, whose driving status was unknown, to drive this uninsured and

             unregistered vehicle away from the scene.         It was also reasonable

             under the Gwinnett policy not to offer Defendant Cubillos any other

             alternatives to impoundment.     All of the alternatives in the Gwinnett

             policy cited by Defendant are dependent upon “the arrestee/owner

             express[ing] a desire” for an alternative other than impoundment. See

             Gov’t Ex. 1, ¶ 427.03.     Defendant never expressed any desire for an

             alternative to impoundment.




                                                  10




AO 72A
(Rev.8/82)
             Case 1:10-cr-00086-RWS-ECS Document 701 Filed 03/20/12 Page 11 of 12




                  Further, it was not unreasonable for the officer not to attempt

             to contact the owner.     The owner was unidentified and unregistered;

             it was approximately four thirty in the morning.         Finding the owner

             at that time of night would have been unlikely, and arranging another

             tow service would have undoubtedly caused significant delay. See

             United States v. Crawford, 294 F. App’x 466, 473 (11th Cir. 2008)

             (decision to impound without finding another driver not unreasonable).

             And, in addition, the vehicle bore a license plate issued to another

             vehicle, also in violation of Georgia law.

                  Under these circumstances, Officer Martinez acted reasonably in

             impounding the vehicle without contacting the owner or offering other

             alternatives.   His decision appears to have been made in good faith,

             was based upon standard criteria, and not solely based upon “suspicion

             of evidence of criminal activity.” Sammons, 967 F.2d at 1543.

                                                 IV.
                                             Conclusion

                  In conclusion, the motions to suppress evidence, [Docs. 347,

             348], should be DENIED. The motion to suppress statements, [Doc. 391],

             is also DENIED, because it is MOOT.

                  It appearing that there are no further pretrial or discovery

             matters to bring before the undersigned as to these defendants, it is




                                                  11




AO 72A
(Rev.8/82)
             Case 1:10-cr-00086-RWS-ECS Document 701 Filed 03/20/12 Page 12 of 12




             therefore ORDERED that these defendants be and are hereby CERTIFIED

             as ready for trial.4

                  SO REPORTED AND RECOMMENDED, this 20th day of March, 2012.



                                                       /s/ E. Clayton Scofield III
                                                       E. Clayton Scofield III
                                                       UNITED STATES MAGISTRATE JUDGE




                  4
                   This Court observes that these defendants have been indicted
             with additional defendants and that matters pertaining to such co-
             defendants are still pending. Pursuant to 18 U.S.C. §3161 (h)(7)
             (the Speedy Trial Act), the time for commencing the trial of these
             defendants may be stayed until such time as all defendants have
             been certified ready for trial. Hence, it is not necessary to place
             the above-named defendant’s case on the calendar for trial at this
             time

                                                  12




AO 72A
(Rev.8/82)
